









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
December 9, 2004









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed December 9, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-01135-CV

____________

&nbsp;

IN RE McKINLEY
DALE THOMAS, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On November 29, 2004, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; 

Relator has not established that he is
entitled to mandamus relief.&nbsp;
Accordingly, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Memorandum Opinion filed December 9, 2004.

Panel consists of
Justices Anderson, Hudson, and Frost.





